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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                      :
                                                  :
              v.                                  :
                                                  :    Case No. 21-cr-88 (DLF)
    RONALD SANDLIN and                            :
    NATHANIEL DEGRAVE,                            :
                                                  :
                    Defendants.                   :

        UNITED STATES’ MEMORANDUM IN OPPOSITION TO DEFENDANT
         SANDLIN’S MOTION TO DISMISS COUNT FIVE OF INDICTMENT

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in opposition to Defendant

Sandlin’s Motion to Dismiss Count Five 1 for Failure to State an Offense, filed on September 13,

2021. For the reasons that follow, the Court should reject the defendant’s motion.

                                  FACTUAL BACKGROUND

        The facts underlying this case have been discussed at length in numerous pleadings

stemming from the detention proceedings. See Dkt. Nos. 16, 29, 30.          In short, the defendants

conspired with each other and Josiah Colt 2 to interfere with the peaceful transition of presidential

power on January 6, 2021, and ultimately to storm the Capitol and obstruct the Electoral College

vote certification proceedings. Hours before rioters first breached the Capitol, the defendants

called on “other patriots” to “take the Capitol,” stating that it was “game time.” Once inside the




1
  Since defendant Sandlin filed his motion, a grand jury in the District of Columbia returned a
Superseding Indictment against both defendants, which had the effect of converting Count Five of
the original indictments against each to Count Two of the Superseding Indictment. Compare
Indictment, Dkt. No. 6, at 3, with Superseding Indictment, Dkt. No. 46, ¶¶ 36-37.
2
  Colt has since pleaded guilty to obstruction of an official proceeding in violation of 18 U.S.C. §
1512(c). See United States v. Josiah Colt, No. 21-cr-74, Dkt. Nos. 21-22.
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Capitol, the defendants assaulted two separate sets of U.S. Capitol Police officers guarding the

exterior Rotunda doors and the doors to the balcony overlooking the Senate floor, respectively.

                                   PROCEDURAL HISTORY

         The defendants were initially charged by indictment, in separate cases, 3 with offenses

stemming from their conduct at the Capitol on January 6. Both defendants have been held in

pretrial detention since the date of their arrests, and this Court and Judge Friedman denied their

motions for bond. The Court of Appeals affirmed both detention orders.

         After extensive discussions between the government and defense counsel, both defendants

rejected their plea offers. On August 10, 2021, the Court set this case for trial on December 6,

2021, over the government’s objection.

         On September 13, 2021, defendant Sandlin filed the instant motion. Two days later, a

grand jury in the District of Columbia returned a superseding indictment against the defendants,

joining them in a single case and charging them with violations of 18 U.S.C. §§ 1512(k)

(conspiracy to obstruct an official proceeding); 1512(c)(2) (obstruction of an official proceeding);

111(a)(1) (assaulting, resisting, or impeding certain officers); 231(a)(3) (certain acts during a civil

disorder); and 1752(a) (unlawful entry and disorderly conduct on restricted grounds).

                                          ARGUMENT

    I.   LEGAL STANDARD

         A defendant may move to dismiss an indictment or count prior to trial. See Fed. R. Crim.

P. 12(b)(3)(B). A pretrial motion may challenge “a defect in the indictment or information” if “the

basis for the motion is then reasonably available and the motion can be determined without a trial



3
 Prior to September 15, 2021, the case against defendant DeGrave had been heard by Judge
Friedman. See United States v. Nathaniel DeGrave, No. 21-cr-90.
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on the merits.” Id. Although a court’s supervisory powers provide the authority to dismiss an

indictment, “dismissal is granted only in unusual circumstances.” United States v. Ballestas, 795

F.3d 138, 148 (D.C. Cir. 2015). An “indictment must be viewed as a whole” and the “allegations

must be accepted as true” in determining if an offense has been properly alleged. United States v.

Bowdoin, 770 F. Supp. 2d 142, 146 (D.D.C. 2011). The key question is whether the allegations,

if proven, would be sufficient to permit a jury to find that the crimes charged were committed. Id.

    II.   COUNTS 1 (CONSPIRACY) AND 2 (OBSTRUCTION OF AN OFFICIAL
          PROCEEDING) SHOULD NOT BE DISMISSED.
          Defendant Sandlin puts forth a litany of reasons why the obstruction count—i.e., current

Count Two of the Superseding Indictment—should be dismissed. 4 His primary argument is that

Section 1512 “does not apply to disruptive or even intimidating conduct directed at [an] official

proceeding while it is occurring.” Def’s Mot. Dismiss 2. He also challenges the validity of the

term “official proceeding” in the statute, claiming that the term is ambiguous and that Congress’s

constitutionally mandated process of counting the Electoral College votes and certifying the next

President and Vice President of the United States was somehow not an “official proceeding.” The

defendant also argues that the statute is unconstitutionally vague as applied in this case, and that

the rule of lenity demands dismissal of the obstruction charge. None of these arguments has merit.

                 A.     Congress’s Joint Session on January 6 Was an “Official
                        Proceeding.”

          Contrary to the defendant’s claims, Congress’s joint session meeting on January 6, 2021,

to review, count, and certify the Electoral College vote constitutes an “official proceeding” under

the definition of that term set forth in 18 U.S.C. § 1515(a)(1).



4
 Although the defendants have not yet challenged Count One of the Superseding Indictment
(Conspiracy), the government understands that many, if not all, of the arguments set forth in the
defendant’s motion would apply to both Counts One and Two of the Superseding Indictment.
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                       1.      Background

       The Constitution and federal statutory law require that both Houses of Congress meet to

certify the results of the Electoral College vote. Under the Twelfth Amendment, the state Electors

must “vote by ballot,” marking one set of ballots for the individual voted for as President and

“distinct ballots” for the vice-presidential selection. U.S. Const. amend. XII. The Electors must

then create “lists” of the presidential and vice-presidential candidates who received votes, “which

lists they shall sign and certify, and transmit sealed to the seat of the government of the United

States.” Id. These certified lists, or “certificates,” are then opened by the Vice President, while

acting as the President of the Senate, “in the presence of the Senate and House of Representatives,”

and “the Votes shall then be counted.” Id.; U.S. Const. art. II, § 1, cl. 3

       Under the Electoral Act of 1887, a Joint Session of the Senate and the House of

Representatives must meet at “the hour of 1 o’clock in the afternoon” on “the sixth day of January

succeeding every meeting of the electors.” 3 U.S.C. § 15. Section 15 details the steps to be

followed. Specifically, the President of the Senate opens the votes, hands them to two “tellers”

from each House, who in turn create a new “list” that comprises “the votes as they shall appear

from the said certificates.” Id. During the reading of the certificates, the President of the Senate

must open the floor to objections; any objection “shall be made in writing . . . and shall be signed

by at least one Senator and one Member of the House of Representatives.” Id. The President of

the Senate is empowered to “preserve order” during the Joint Session. 3 U.S.C. § 18. Upon a

properly made objection, the Senate and House of Representatives withdraw to consider the

objection; each Senator and Representative “may speak to such objection . . . five minutes, and not

more than once.” 3 U.S.C. § 17. The Electoral Act, which specifies where within the chamber
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Members of Congress are to sit, requires that the Joint Session “not be dissolved until the count of

electoral votes shall be completed and the result declared.” 3 U.S.C. § 16.

       The defendants here are charged with violating Section 1512(c)(2) by corruptly

obstructing, influencing, or impeding any official proceeding, as well as conspiring to do so. An

“official proceeding” for purposes of Section 1512(c)(2) is defined in Section 1515 as:

       (A) a proceeding before a judge or court of the United States, a United States
       magistrate judge, a bankruptcy judge, a judge of the United States Tax Court, a
       special trial judge of the Tax Court, a judge of the United States Court of Federal
       Claims, or a Federal grand jury;
       (B) a proceeding before the Congress;
       (C) a proceeding before a Federal Government agency which is authorized by law;
       or
       (D) a proceeding involving the business of insurance whose activities affect
       interstate commerce before any insurance regulatory official or agency or any agent
       or examiner appointed by such official or agency to examine the affairs of any
       person engaged in the business of insurance whose activities affect interstate
       commerce.

18 U.S.C. § 1515(a)(1) (emphasis added).

                       2.     Congress’s Joint Session to certify the Electoral College vote
                              is a “proceeding before the Congress.”

       Congress’s meeting to certify the Electoral College vote as set out in the Constitution and

federal statute is a “proceeding before the Congress” under 18 U.S.C. § 1515(a)(1)(B) and

therefore an “official proceeding” for purposes of Section 1512(c)(2). That conclusion flows

principally from the obstruction statute’s plain text. Skipping past the text, the defendant argues

that Congress’s intent and other language in the obstruction statute import a quasi-judicial

requirement into the term “official proceeding.” That argument is incorrect, but even if somehow

valid, it still would not disqualify Congress’s Joint Session on January 6.
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                               a.     Congress’s Joint Session satisfies the definition of
                                      “official proceeding.”

       Section 1515(a)(1)(B) defines “official proceeding” as a “proceeding before the Congress.”

To determine the meaning of a statute, a court “look[s] first to its language, giving the words used

their ordinary meaning.” Levin v. United States, 568 U.S. 503, 513 (2013) (internal quotation

omitted). In ordinary parlance, a gathering of the full Congress to certify the Electoral College

vote is a congressional proceeding, or “a proceeding before the Congress.” Because Section

1515(a)(1)(B)’s words “are unambiguous, the judicial inquiry is complete.” Babb v. Wilkie, 140

S. Ct. 1168, 1177 (2020) (internal quotation omitted).

       Congress’s Joint Session to certify the Electoral College vote constitutes a “proceeding”

under any interpretation of that term. In its broadest and most “general sense,” a “proceeding”

refers to “[t]he carrying on of an action or series of actions; action, course of action; conduct,

behavior.”    United States v. Ermoian, 752 F.3d 1165, 1169 (9th Cir. 2013) (quoting

Proceeding, Oxford English Dictionary, available at http://www.oed.com). The defendant cannot

seriously contend that Congress’s Joint Session to certify the Electoral College vote, which

involves a detailed “series of actions” outlining how the vote is opened, counted, potentially

objected to, and ultimately certified, is not a proceeding under that broad definition.

       A narrower definition of the term “proceeding” would look to the “legal—rather than the

lay—understanding” of the term. Ermoian, 752 F.3d at 1170. This narrower definition includes

the “business conducted by a court or other official body; a hearing.” Black’s Law Dictionary,

“Proceeding” (11th ed. 2019). Taken with its modifier “official,” the term “proceeding” thus

“connotes some type of formal hearing.” Ermoian, 752 F.3d at 1170. Even under this narrower

definition, Congress’s Joint Session to certify the Electoral College vote—business conducted by

an official body, in a formal session—easily qualifies.
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       The formality involved in the certification of the Electoral College vote places it well

within the various categories of official proceedings, even under the narrower legal definition of

the term “proceeding.” Few events are as solemn and formal as a Joint Session of the Congress.

That is particularly true for Congress’s certification of the Electoral College vote, which is

expressly mandated under the Constitution and federal statute. Required by law to begin at 1:00

pm on the sixth of January following a presidential election, Congress’s meeting to certify the

Electoral College vote is both a “hearing” and “business conducted by . . . [an] official body.” See

Black’s Law Dictionary, “Proceeding.” The Vice President, as the President of the Senate, serves

as the “presiding officer” over a proceeding that counts votes cast by Electors throughout the

country in presidential election. 3 U.S.C. § 15. As in a courtroom, Members may object, which

in turn causes the Senate and House of Representatives to “withdraw” to their respective chambers

so each House can render “its decision” on the objection. Id. And just as the judge and parties

occupy specific locations in a courtroom, so too do the Members within the “Hall.” See 3 U.S.C.

§ 16 (President of the Senate is in the Speaker’s chair; the Speaker “immediately upon his left”;

the Senators “in the body of the Hall” to the right of the “presiding officer”; the Representatives

“in the body of the Hall not provided for the Senators”; various other individuals “at the Clerk’s

desk,” “in front of the Clerk’s desk,” or “upon each side of the Speaker’s platform”). Congress’s

certification of the Electoral College vote, moreover, must terminate with a decision: Congress

may not recess until “the count of electoral votes” is “completed,” and the “result declared.” Id.

In short, Congress’s Joint Session to certify the Electoral College vote is a “proceeding before the

Congress” under Section 1515(a)(1)(B).
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                               b.     Section 1515(a)(1) imposes no quasi-judicial
                                      requirement.

       The defendant argues that the context surrounding section 1512 shows that Congress

intended to limit the definition of “official proceeding” in Section 1515(a)(1) to only a “court-like

proceeding that has the ability to secure witness testimony and evidence for purposes related to

the administration of justice.” Def’s Mot. Dismiss 19. But the language of Section 1515(a)(1)(B)

is clear, and the defendant’s proffered reasons to support his argument—case law interpreting

Section 1515(a)(1)(C), the title and placement of Section 1512 within Title 18, and legislative

history—all fail.

                                      i.      Section 1515(a)(1)(B) has no limitation on
                                              the type of congressional proceeding.

       Section 1515(a)(1)(B) defines an “official proceeding” broadly as a “proceeding before the

Congress.” As an initial matter, it is difficult to imagine a proceeding more “official” than a

constitutionally and statutorily prescribed Joint Session of the United States Congress that

convenes once every four years.

       Had Congress wanted to import a definition that more closely resembled a quasi-

adjudicative setting, it needed look only a few provisions away to Section 1505, which criminalizes

obstruction of “the due and proper administration of the law under which any pending proceeding

is being had” by a federal department or agency. And to the extent that “before” refers to “some

formal convocation of the agency in which parties are directed to appear,” see United States v.

Young, 916 F.3d 368, 384 (4th Cir. 2019) (internal quotation omitted), Congress’s certification of

the Electoral College vote involves a “formal convocation” of Congress to assess the ballots and

“declare[]” the “result” of the presidential election. 3 U.S.C. § 16.
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       Under the defendant’s logic, “a proceeding before the Congress” in Section 1515(a)(1)(B)

should encompass only “court-like” congressional proceedings, such as congressional

investigations or impeachments. See Def’s Mot. Dismiss 19. But Section 1505 expressly

criminalizes obstruction of “any inquiry or investigation [that] is being had by” Congress,

including by congressional committees and subcommittees. 18 U.S.C. § 1505; see United States

v. Bowser, 964 F.3d 26, 31 (D.C. Cir. 2020). Had Congress wished to limit the obstruction

prohibition under Sections 1512 and 1515(a)(1)(B) to congressional investigations, it could have

done so by borrowing the “inquiry” language of Section 1505. But it chose different terms, with

different meanings. See Russello v. United States, 464 U.S. 16, 23 (1983) (“We refrain from

concluding here that the differing language in the two subsections has the same meaning in each.

We would not presume to ascribe this difference to a simple mistake in draftsmanship.”). Here,

Congress enacted broader language (“a proceeding before the Congress”) to cover a broader range

of proceedings than only the “inquir[ies] and investigation[s]” envisioned in Section 1505. That

broader definition in Section 1515(a)(1)(B) includes any “proceeding” conducted by “the

Congress,” including its formal Joint Session on January 6.

       The defendant’s narrowed reading of “proceeding before the Congress” in

Section 1515(a)(1)(B)—in essence, importing an extra-textual quasi-judicial requirement—would

undercut the broad statute that Congress enacted. In the defendant’s view, for example, an

individual who threatened a Senator and a Representative with injury unless each agreed to object

to the Electoral College certification—even though each Member knew that the objections were

frivolous—would not amount to obstruction under the statute. Nor would it appear to cover an

individual who paid one of the tellers—appointed by the Senate and House of Representatives to

handle the Electoral College votes—to falsify or destroy votes. Indeed, the defendant’s motion
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does not identify which congressional proceedings would fall within the ambit of his proffered

narrowed definition, nor does it grapple with the anomalous result that follows from his argument:

an investigation by a committee—not even a full House, let alone both Houses—would qualify as

a “proceeding before the Congress,” but a constitutionally required Joint Session to resolve

disputes over and ultimately certify the result of a presidential election would not.

       This crabbed approach fails to recognize that Congress’s meeting to certify the Electoral

College vote is an official proceeding that is “crucial to the conduct of government” and therefore

“entitled to go forward free of corrupting influences that not only delay [it] but increase the chances

of false and unjust outcomes.” United States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019).

Whatever the outer limits of a “proceeding before the Congress” for purposes of the statute,

Congress’s Joint Session to debate and certify the Electoral College vote falls well within them.

                                       ii.     Case law interpreting Section 1515(a)(1)(C)
                                               is inapposite.

       No court appears to have had occasion to interpret Section 1515(a)(1)(B)’s phrase

“proceeding before the Congress,” possibly because the phrase is unambiguous.

       The defendant’s reliance on cases interpreting Section 1515 (a)(1)(C) is misplaced because

those decisions hinge on the phrase “which is authorized by law” that is absent from Section 1515

(a)(1)(B). See Def’s Mot. Dismiss 20-21. In Ermoian, a decision cited by the defendant, the

question was whether an FBI investigation was an “official proceeding” that was “authorized by

law” under Section 1512 (a)(1)(C). 752 F.3d at 1170. A similar question was addressed in United

States v. Ramos, cited by the defendant, and numerous other cases. 537 F.3d 439, 463 (5th Cir.

2008) (internal investigation conducted by Customs and Border Patrol); see also United States v.

Binette, 828 F. Supp. 2d 402, 404 (D. Mass. 2011) (preliminary SEC investigation); and United

States v. Perez, 575 F.3d 164, 169 (2d Cir. 2009) (review panel within the Bureau of Prisons).
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       Moreover, in the context of Section 1515(a)(1)(C), courts typically analyze the degree of

“formality” in a law enforcement investigation to determine if it is an “official proceeding.” See,

e.g., Sutherland, 921 F.3d, at 426 (FBI investigation not an “official proceeding” because that term

“implies something more formal than a mere investigation”); Ermoian, 752 F.3d at 1170-72

(same); Ramos, 537 F.3d at 463 (term “official proceeding … contemplates a formal

environment”). There should be no question that Congress’s constitutionally and statutorily

required Joint Session was sufficiently “formal” to qualify as an “official proceeding.”

                                      iii.    The title and placement of Section 1512 does
                                              not impose a quasi-judicial requirement on
                                              the phrase “official proceeding.”

       The defendant asserts that Section 1512’s title—“Tampering with a witness, victim, or an

informant”—implies that the “official proceeding” definition in Section 1515 does not cover

Congress’s meeting to certify the Electoral College vote and instead only “refer[s] to a proceeding

related to the administration of justice.” See Def’s Mot. Dismiss 23. But the title of Section 1512

says nothing about the definition of “official proceeding” in Section 1515.

       First, his argument fails to heed “the wise rule” that neither “the title of a statute” nor “the

heading of a section” can “limit the plain meaning of the text.” Brotherhood of R.R. Trainmen v.

Baltimore & Ohio R. Co., 331 U.S. 519, 528-29 (1947). A statute’s title cannot mention every

term in the text; to attempt to do so “would often be ungainly as well as useless.” Id. at 528. That

is precisely why “matters in the text . . . are frequently unreflected in the headings.” Id. Simply

put, a section title is “not meant to take the place of the detailed provisions of the text.” Lawson

v. FMR LLC, 134 S. Ct. 1158, 1169 (2014).

       Second, the title of the legislation’s section actually supports a broad interpretation of

Section 1512(c). This provision was enacted in 2002 as part of the Sarbanes-Oxley Act, Pub. L.
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107-204, specifically Section 1102 of the law, which is titled “Tampering with a Record or

Otherwise Impeding an Official Proceeding.” In other words, Congress evidenced its intent that

“otherwise impeding an official proceeding” would indeed be a crime, a separate crime from

“tampering with a record.”

       Third, the defendant’s reference to other provisions in Chapter 73, which covers

obstruction of justice offenses, have even less bearing on the plain meaning of Section 1512(c)(2).

See Def’s Mot. Dismiss 24.          If anything, those neighboring provisions—which criminalize

obstruction of other proceedings and investigations and protect judges, jurors, and witnesses—

merely underscore how robustly Congress sought to penalize obstructive conduct across a vast

range of settings and circumstances. That Congress wished to penalize efforts to obstruct

everything from a federal audit to a bankruptcy to an examination by an insurance official only

reinforces the fact that the acts of obstructing, influencing or impeding are more important than

the particular type of federal proceeding being obstructed. See Williamson, 903 F.3d at 131. 5

                               c.       Congress’s certification of the Electoral College
                                        vote is quasi-judicial.

       The defendant’s challenge also fails even if he is correct—and he is not—that for a

proceeding to constitute an “official proceeding” under the obstruction statute, that proceeding

must be “court-like.” Far from a “purely ceremonial or ministerial” function, see Def’s Mot.

Dismiss 25, Congress’s meeting to certify the Electoral College vote has features that resemble an

adjudicative proceeding. It involves the convening of a Joint Session, a deliberative body over



5
  The defendant’s reliance on legislative history, Def’s Mot. Dismiss 23, is also flawed. For one,
the “best evidence of [a statute’s purpose] is the statutory text adopted by both Houses of
Congress and submitted to the President,” West Va. Univ. Hosps., Inc. v. Casey, 499 U.S. 83, 98
(1991), so there is no reason to consider the obstruction statute’s legislative history. Moreover,
the legislative history recognized that the “term ‘official proceeding’” in the obstruction statute is
“defined broadly.” S. Rep. No. 97-532, at 17 (1982).
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which a government officer, the President of the Senate, “presid[es].” 3 U.S.C. § 15. That body

convenes to render judgment on whether to certify the votes cast by Electors in the presidential

election. As in an adjudicative setting, parties may lodge objections, and if any such objection is

lodged, each House must consider the objection and make a “decision” whether to overrule or

sustain it. Id. And just as a jury does not (barring a mistrial) recess until it has a reached a verdict,

the Joint Session cannot “be dissolved” until it has “declared” a “result.” 3 U.S.C. § 16.

                B.      Section 1512(c) is not unconstitutionally vague.

        The defendant argues that Section 1512(c) is unconstitutionally vague, 6 claiming that the

terms “official proceeding” and “corruptly” are vague and thus does provide fair notice of the

conduct it proscribes and invites arbitrary enforcement. This argument lacks merit.

                        1.      Background

        The Due Process Clauses of the Fifth and Fourteenth Amendments prohibit the government

from “depriv[ing] any person of life, liberty, or property, without due process of law.” An

outgrowth of the Due Process Clause, the “void for vagueness” doctrine prevents the enforcement

of a criminal statute that is “so vague that it fails to give ordinary people fair notice of the conduct

it punishes” or is “so standardless that it invites arbitrary enforcement.” Johnson v. United States,

576 U.S. 591, 595 (2015). But the doctrine is narrow, and challengers raising vagueness arguments

must overcome the strong presumption that duly enacted statutes are constitutional. See United

States v. Nat’l Dairy Products Corp., 372 U.S. 29, 32 (1963) (“The strong presumptive validity

that attaches to an Act of Congress has led this Court to hold many times that statutes are not




6
  Although not explicitly styled as such, the defendant appears to be making an as-applied
challenge to the statute. See Def’s Mot. Dismiss 2, 12-15.
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automatically invalidated as vague simply because difficulty is found in determining whether

certain marginal offenses fall within their language.”).

       Accordingly, the void for vagueness doctrine “does not invalidate every statute which a

reviewing court believes could have been drafted with greater precision.” Rose v. Locke, 423 U.S.

48, 49 (1975) (per curiam). Rather, a statute is unconstitutionally vague only if it “proscribe[s] no

comprehensible course of conduct at all.” United States v. Powell, 423 U.S. 87, 92 (1975). “What

renders a statute vague is not the possibility that it will sometimes be difficult to determine whether

the incriminating fact it establishes has been proved; but rather the indeterminacy of precisely what

that fact is.” United States v. Williams, 553 U.S. 285, 306 (2008). This court has recently

recognized a high bar for rendering a statute unconstitutionally vague, advising that:

               [N]o void for vagueness challenge is successful merely because a
               statute requires a person to conform his conduct to an imprecise but
               comprehensible normative standard, whose satisfaction may vary
               depending upon whom you ask. Instead, unconstitutional vagueness
               arises only if the statute specifies no standard of conduct at all.

United States v. Gonzalez, No. 20-cr-40 (BAH), 2020 WL 6342948, at *7 (D.D.C. Oct. 29, 2020)

(internal citation and quotation omitted) (emphasis added); see also United States v. Harmon, No.

19-cr-395 (BAH), 2021 WL 1518344, at *4 (D.D.C. Apr. 16, 2021) (finding that defendant did

not meet “stringent standard” to prevail on Rule 12 void-for-vagueness motion).

       The defendant further posits that the obstruction statute is so vague that it allows arbitrary

enforcement, and that “if the language in § 1512(c)(2) is read to reach beyond conduct that can

affect an official proceeding by impacting the state and content of what it might consider in making

its deliberations … it is hard see how § 1512(c)(2) would not be overly vague.” Def’s Mot. Dismiss

13. To evaluate whether a statute is so vague that it allows for arbitrary enforcement, a court looks

to whether the statute has “establish[ed] minimal guidelines to govern law enforcement” because
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a statute may “require law enforcement officers to use their discretion without being

unconstitutionally vague.” Kolender v. Lawson, 461 U.S. 352, 358 (1983); Agnew v. Dist. Of

Columbia, 920 F.3d 49, 55 (D.C. Cir. 2019). The statute here easily passes muster.

       The D.C. Circuit’s decision in United States v. Bronstein, 849 F.3d 1101 (D.C. Cir. 2017),

illustrates the distinction between laws that require some degree of interpretation and laws that are

unconstitutionally vague. In Bronstein, the defendants were prosecuted for disturbing a Supreme

Court argument under a law that prohibited, among other things, making a “harangue” or “oration”

within the Supreme Court building. Id. at 1104 (citing 40 U.S.C. § 6134). The district court held

that those terms were unconstitutionally vague, but the D.C. Circuit reversed. Id.

       As the D.C. Circuit explained, vagueness is not evaluated in a vacuum. Instead, courts are

required to exhaust all the available tools for statutory interpretation before declaring a statute void

for vagueness. “The vagueness analysis . . . turns on the tools of statutory interpretation.” Id. A

law is not vague merely because it requires some interpretation, for “[e]ven trained lawyers may

find it necessary to consult legal dictionaries, treatises, and judicial opinions before they may say

with any certainty what some statutes may compel or forbid.” Id. at 1107 (quoting Rose, 423 U.S.

at 50). Rather, “a statute is unconstitutionally vague if, applying the rules for interpreting legal

texts, its meaning specifies no standard of conduct at all.” Id. (internal citation, quotation, and

alterations omitted) (emphasis added). Importantly, “when the vagueness doctrine assesses a legal

term’s meaning to ‘ordinary people,’ it is assessing meaning with the elementary rule of statutory

interpretation: Words receive their ‘plain, obvious and common sense’ meaning, ‘unless context

furnishes some ground to control, qualify, or enlarge it.’” Id. at 1108 (citation omitted). A court

therefore may strike a statute as unconstitutional only if “no construction can save” it. Id. at 1106

(internal citation and quotation omitted).
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       Thus, the challenge in Bronstein failed because the disputed statutory terms “harangue”

and “oration” could easily be construed using ordinary tools of statutory construction. Because

the court could discern a “core meaning” to the disputed terms by “[e]mploying the tools of

statutory interpretation”—and because that core meaning “proscribes determinable conduct”—the

statute was not unconstitutionally vague. Id. at 1104. Applying these principles to the statutory

interpretation arguments outlined in this brief, Section 1512 is not unconstitutionally vague.

                       2.     The as-applied challenges to the statute should be rejected.

       A statute is impermissibly vague if it either (1) “fails to provide people of ordinary

intelligence a reasonable opportunity to understand what conduct it prohibits” or (2) “authorizes

or even encourages arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703,

732 (2000). Section 1512(c)(2) does neither.

                              a.      “Official proceeding” is not unconstitutionally
                                      vague as applied to these defendants.

       Defendant Sandlin alludes to an argument that strains credulity: that it is unfair to

prosecute him for obstruction of an official proceeding because he was not on fair notice that

Congress’s Joint Session on January 6 constituted an “official proceeding.” See Def’s Mot.

Dismiss 12-15. Even a layperson’s common sense reading of “a proceeding before the Congress”

would include a Joint Session called to certify a presidential election result. For this reason, and

as discussed at length in Section II.A, supra, this claim should be dismissed out of hand.

                              b.      “Corruptly” is not unconstitutionally vague as
                                      applied to these defendants.

       Defendant Sandlin also implicitly argues that the “corruptly” term used in Section

1512(c)(2) is unconstitutionally vague because it does not provide fair notice of the

conduct it proscribes and invites arbitrary enforcement. See Def’s Mot. Dismiss 13-15.
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       Because “‘corruptly’” is not defined in the statute, it is “understood . . . to have its

ordinary meaning.” United States v. North, 910 F.2d 843, 881 (D.C. Cir. 1990) (per

curiam), withdrawn and superseded in part by United States v. North, 920 F.2d 940 (D.C.

Cir. 1990) (per curiam). In Poindexter, the D.C. Circuit suggested, while construing 18

U.S.C. § 1505, 7 that “corruptly” was “vague . . . in the absence of some narrowing gloss.”

951 F.2d at 378 (internal quotation marks omitted). After surveying the obstruction

statute’s legislative history (including the “[o]rigins” of Sections 1503 and 1505) and

case law interpreting Section 1505, the court reversed the defendant’s conviction because

Section 1505 failed to provide “constitutionally required notice” that the defendant’s

conduct—making false and misleading statements to Congress—fell within the statute’s

scope. Id. at 380, 386. The court disclaimed any conclusion that “corruptly” in Section

1505 was “unconstitutionally vague as applied to all conduct.” Id. at 385 (emphasis

added) (internal quotation marks omitted). The court also declined to adopt as a standard

that “‘corruptly’ means that in acting, the defendant aimed to obtain an ‘improper

advantage for [himself] or someone else inconsistent with official duty and rights of

others.’” Id. at 385-86 (quoting North, 910 F.2d at 881-82). 8

       Since Poindexter, many courts, including the D.C. Circuit, have upheld the term

“corruptly” as passing constitutional muster in the context of related obstruction statutes.




7
  Section 1505 applies to “[w]hoever corruptly . . . influences, obstructs, or impedes or endeavors
to influence, obstruct, or impede . . . the due and proper exercise of the power of inquiry under
which any inquiry or investigation is being had by either House, or any committee of either House
or any joint committee of the Congress.” 18 U.S.C. § 1505.
8
  Congress subsequently amended Section 1505 (and legislatively overruled Poindexter) by adding
a definition of “corruptly”: “acting with an improper purpose, personally or by influencing another,
including making a false or misleading statement, or withholding, concealing, altering, or
destroying a document or other information.” See 18 U.S.C. § 1515(b).
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See, e.g., United States v. Morrison, 98 F.3d 619, 630-31 (D.C. Cir. 1996) (rejecting

vagueness challenge to “corruptly” under Section 1512(b)); United States v. Shotts, 145

F.3d 1289, 1300 (11th Cir. 1998) (same). For purposes of Section 1512(c)(2), the term

“corruptly” has been construed as having two components: (1) intent to obstruct, impede,

or influence; and (2) wrongfulness. See United States v. Friske, 640 F.3d 1288, 1291

(11th Cir. 2011) (to act “corruptly” is to act “with an improper purpose” and “with the

specific intent to subvert, impede or obstruct”) (quoting United States v. Mintmire, 507

F.3d 1273, 1289 (11th Cir. 2007)); United States v. Gordon, 710 F.3d 1124, 1151 (10th

Cir. 2013) (same); United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (upholding

jury instruction defining “corruptly” as acting with “consciousness of wrongdoing”

(internal quotation marks omitted)); United States v. Matthews, 505 F.3d 698, 705 (7th

Cir. 2007) (upholding instruction defining “[c]orruptly” as acting “with the purpose of

wrongfully impeding the due administration of justice”); Seventh Circuit Pattern

Criminal Jury Instruction for § 1512(c) (“A person acts ‘corruptly’ if he or she acts with

the purpose of wrongfully impeding the due administration of justice.”).

       Here, the indictment alleges that the defendants intended to obstruct, influence, or

impede the congressional proceeding and in fact did so. No one could think that forcing

one’s way into the Capitol to stop or delay Congress from meeting—and trying to

intimidate Congress from formally certifying the Electoral College vote—was somehow

legal. Indeed, defendants Sandlin and DeGrave entered the Capitol as alarm bells rang.

They violently assaulted two sets of U.S. Capitol Police officers guarding important

entryways, including to the Senate Chamber itself. While inside the Senate Chamber,

defendant Sandlin wept with joy as he exclaimed “we took it,” while defendant DeGrave
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called on others to “take laptops” and “paperwork.” They evinced no misunderstanding

of the unlawful actions they took on January 6. The defendants thus have “fair notice”

that their conduct was “corrupt[]” within the meaning of Section 1512(c)(2), as that term

has been defined and upheld by the appellate courts. See, e.g., Friske, 640 F.3d at 1291.

Accordingly, the term “corruptly” does not render Section 1512 unconstitutionally vague.

                C.      Section 1512(c)(2) is not limited to “suppression and corruption
                        of evidence, testimony, and information that might be relevant
                        to an official proceeding.” 9
         Section 1512(c)(2) provides that “[w]hoever corruptly . . . obstructs, influences, or impedes

any official proceeding” has committed a crime. A person violates that statute when, acting with

the requisite mens rea, he engages in conduct that obstructs a specific congressional proceeding.

See 18 U.S.C. § 1512(c)(2); § 1515(a)(1)(B). Nothing in Section 1512(c)(2)’s text, structure, or

history limits it to “conduct that can affect an official proceeding by impacting the state and content

of what it might consider in making its deliberations”—i.e., obstruction tied to documentary or

other tangible evidence. See Def’s Mot. Dismiss 9-12. Nor does the Supreme Court’s decision in

Yates v. United States, 574 U.S. 528 (2015), which construed a different term in a different statute,

support imposing such an atextual limitation on Section 1512(c)(2). But even if such a limitation

existed, the statute encompasses the defendants’ alleged conduct.

                        1.      Section 1512(c)(2)’s text, structure, and history confirm that
                                its prohibition on obstructive conduct covers the defendants’
                                actions on January 6, 2021.

         In Section 1512(c)(2), Congress enacted a comprehensive prohibition on conduct that

intentionally and wrongfully obstructs official proceedings. The ordinary meaning of “obstruct[],

influence[], or impede[]” encompasses a wide range of conduct designed to undermine an official



9
    See Def’s Mot. Dismiss 4.
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proceeding. That conduct can include lying to a grand jury or in civil proceedings, exposing the

identity of an undercover agent, and burning a building to conceal the bodies of murder victims.

See, infra, Section II.C.1.a. It also includes storming the Capitol to derail a congressional

proceeding. A defendant who, acting with the necessary mens rea, obstructs (or attempts to

obstruct) Congress’s certification of the Electoral College vote violates Section 1512(c)(2).

                               a.      Section 1512(c)(2)’s text and structure support the
                                       government’s application of the statute to the
                                       defendants’ conduct.

       Section 1512(c)(2)’s text and structure demonstrate that it serves as a comprehensive

prohibition on corrupt conduct that intentionally obstructs or impedes an official proceeding.

When interpreting a statute, courts look first to the statutory language, “giving the words used their

ordinary meaning.” Lawson v. FMR LLC, 571 U.S. 429, 440 (2014) (internal quotation marks

omitted). If the statutory language is plain and unambiguous, this Court’s “inquiry begins with

the statutory text, and ends there as well.” National Ass’n of Mfrs. v. Department of Defense, 138

S. Ct. 617, 631 (2018) (internal quotation marks omitted). Here, the meaning of “obstruct[],

influence[], or impede[]” is controlled by the ordinary meaning of those words.

       The verbs Congress selected in Section 1512(c)(2) reach broadly. For example, the words

“obstruct” and “impede” can “refer to anything that ‘blocks,’ ‘makes difficult,’ or ‘hinders.’”

Marinello v. United States, 138 S. Ct. 1101, 1106 (2018) (brackets omitted) (citing dictionaries).

Similarly, “influence” includes “affect[ing] the condition of” or “hav[ing] an effect on.” Influence,

Oxford English Dictionary, available at http://www.oed.com. By their plain meaning, then, the

string of verbs in Section 1512(c)(2) are properly viewed as “expansive” in their coverage. See

United States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013).
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        Section 1512(c)’s structure confirms that straightforward interpretation. Section 1512(c)

consists of two provisions, both of which require the defendant to act “corruptly.” First, Section

1512(c)(1) criminalizes “alter[ing], destroy[ing], mutilat[ing], or conceal[ing] a record, document,

or other object . . . with the intent to impair the object’s integrity or availability for use in an official

proceeding.” Section 1512(c)(2), by contrast, applies more generally to any acts that “otherwise

obstruct[], influence[], or impede[]” an “official proceeding.” The term “otherwise,” consistent

with its ordinary meaning, conveys that Section 1512(c)(2) encompasses misconduct that threatens

an official proceeding “beyond [the] simple document destruction” that Section 1512(c)(1)

proscribes. Burge, 711 F.3d at 809; United States v. Petruk, 781 F.3d 438, 446-47 (8th Cir. 2015)

(noting that “otherwise” in Section 1512(c)(2), understood to mean “in another manner” or

“differently,” “gives defendants fair warning in plain language” that the obstruction prohibition

in subsection (c)(2) applies “without regard to whether the action relates to documents or records”

(internal quotation marks omitted) (emphasis added)); see also United States v. Ring, 628 F. Supp.

2d 195, 224 n.17 (D.D.C. 2009) (noting that Section 1512(c)(2) is “plainly separate and

independent of” Section 1512(c)(1), and declining to read “otherwise” in Section 1512(c)(2) “as

limited by § 1512(c)(1)’s separate and independent prohibition on evidence-tampering”);

Otherwise, Oxford English Dictionary, available at http://www.oed.com (defining otherwise as

“in another way” or “in any other way”).

        In this way, Section 1512(c)(2) criminalizes the same result prohibited by Section

1512(c)(1)—obstruction of an official proceeding—but accomplished by a different means—i.e.,

some conduct other than destruction of a document, record or other object. Cf. United States v.

Howard, 569 F.2d 1331, 1333 (5th Cir. 1978) (explaining that 18 U.S.C. § 1503, which

criminalizes the result of obstructing the due administration of justice, provides both specific
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means of accomplishing that result as well as a separate catch-all clause designed to capture other

means). Section 1512(c)(2), in other words, “operates as a catch-all to cover otherwise obstructive

behavior that might not constitute a more specific” obstruction offense involving documents or

records under Section 1512(c)(1). Petruk, 781 F.3d at 447 (quoting United States v. Volpendesto,

746 F.3d 273, 286 (7th Cir. 2014)); cf. United States v. Aguilar, 515 U.S. 593, 598 (1995)

(describing similar “[o]mnibus” clause in 18 U.S.C. § 1503 as a catchall that is “far more general

in scope than the earlier clauses of the statute”).

       Consistent with that interpretation, courts have upheld convictions under Section

1512(c)(2) of defendants who attempted to secure a false alibi witness while in jail for having

stolen a vehicle, Petruk, 781 F.3d at 440, 447; disclosed the identity of an undercover federal agent

to thwart a grand jury investigation, United States v. Phillips, 583 F.3d 1261, 1265 (10th Cir.

2009); lied in written responses to civil interrogatory questions about past misconduct while a

police officer, Burge, 711 F.3d at 808-09; testified falsely before a grand jury, United States v.

Carson, 560 F.3d 566, 584 (6th Cir. 2009); solicited information about a grand jury investigation

from corrupt “local police officers,” Volpendesto, 746 F.3d at 286; and burned an apartment to

conceal the bodies of two murder victims, United States v. Cervantes, No. 16-10508, 2021 WL

2666684, at *6 (9th Cir. June 29, 2021) (unpublished).

       Section 1512(c)(2) likewise applies to the defendants’ alleged conduct, which involved

forcing their way into the restricted Capitol building, and ultimately the Senate Chamber itself, to

prevent a Joint Session of Congress from certifying the results of the 2020 Presidential election.

In so doing, the defendants hindered and delayed—i.e., obstructed and impeded—the certification

of the Electoral College vote, an “official proceeding.” See 18 U.S.C. § 1515(a)(1)(B). Because

construing Section 1512(c)(2) to reach that conduct would neither “frustrate Congress’s clear
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intention” nor “yield patent absurdity,” this Court’s “obligation is to apply the statute as Congress

wrote it.” Hubbard v. United States, 514 U.S. 695, 703 (1995) (internal quotation marks omitted).

       By contrast, reading Section 1512(c)(2) as limited only to obstructive acts akin to the

document destruction or evidence tampering captured in Section 1512(c)(1) suffers at least three

flaws. First, it would give rise to unnecessarily complex questions about what sort of conduct

qualifies as “similar to but different from” the proscribed conduct “described in [Section

1512](c)(1).” See United States v. Singleton, No. 06-CR-80, 2006 WL 1984467, at *3 (S.D. Tex.

July 14, 2006) (unpublished) (concluding that Section 1512(c)(2) “require[s] some nexus to

tangible evidence, though not necessarily tangible evidence already in existence”); see also United

States v. Hutcherson, No. 05-CR-39, 2006 WL 270019, at *2 (W.D. Va. Feb. 3, 2006)

(unpublished) (concluding that a violation of Section 1512(c)(2) requires proof that “an individual

corruptly obstructs an official proceedings [sic] through his conduct in relation to a tangible

object”). Under the defendant’s limited construction, for example, Section 1512(c)(2) may not

encompass false statements made to obstruct a proceeding, though courts have widely upheld

convictions for such conduct. See Petruk, 781 F.3d at 447 (collecting cases).

       Second, limiting Section 1512(c)(2) in that way would effectively render that provision

superfluous in light of the comprehensive prohibitions against document and evidence destruction

in both Sections 1512(c)(1) and 1519. See Yates, 574 U.S. at 541 n.4 (plurality opinion) (Section

1512(c)(1) provides a “broad ban on evidence-spoliation” (internal quotation marks omitted)). By

contrast, the straightforward interpretation that treats Section 1512(c)(2) as a catch-all for corrupt

obstructive conduct not covered by Section 1512(c)(1) would “give effect to every clause and

word” of Section 1512(c). Marx v. Gen. Revenue Corp., 568 U.S. 371, 385 (2013); cf. United

States v. Poindexter, 951 F.2d 369, 385 (D.C. Cir. 1991) (explaining that limiting catch-all
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provision in Section 1503’s omnibus clause to obstructive acts “directed against individuals”

would render that catch-all superfluous because “earlier, specific[] prohibitions” in Section 1503

“pretty well exhaust such possibilities” (internal quotation marks omitted)); United States v. Watt,

911 F. Supp. 538, 546 (D.D.C. 1995) (rejecting interpretation of Section 1503 omnibus clause that

would “serve no other purpose than to prohibit acts already prohibited in the first part of the

statute” because that reading would “reduce[] the omnibus clause to mere redundancy”).

       Nor does the fact that Congress adopted a more general catch-all in Section 1512(c)(2)

render superfluous other obstruction prohibitions found in Chapter 73, the criminal code’s chapter

on obstruction of justice. Instead, the catch-all in Section 1512(c)(2) serves to capture “known

unknowns.” See Yates, 574 U.S. at 551 (Alito, J., concurring) (quoting Republic of Iraq v. Beaty,

556 U.S. 848, 860 (2009)). Indeed, “the whole value of a generally phrased residual clause . . . is

that it serves as a catchall” to ensure that the full range of conduct Congress sought to regulate

comes within the statute, including “matters not specifically contemplated” by more specific

provisions. Beaty, 556 U.S. at 860. In any event, “[r]edundancies across statutes are not unusual

events in drafting,” Connecticut Nat’l Bank v. Germain, 503 U.S. 249, 253 (1992), and the “rule[]

of thumb” that statutes should be interpreted to avoid superfluity necessarily yields to the “cardinal

canon” that Congress “says in a statute what it means and means in a statute what it says there.”

Id. at 253-54.

       Judicial treatment of the nearby omnibus clause in Section 1503, which prohibits “corruptly

. . . influenc[ing], obstruct[ing], or imped[ing], or endeavor[ing] to influence, obstruct, or impede,

the due administration of justice,” 18 U.S.C. § 1503, is instructive. Drafted in “very broad

language,” this omnibus clause or “catchall provision,” see Aguilar, 515 U.S. at 599, principally

operates to criminalize obstructive conduct that falls outside the narrower prohibitions within
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Section 1503 and neighboring prohibitions. See, e.g., United States v. Sussman, 709 F.3d 155,

168-70 (3d Cir. 2013) (removing gold coins from safe-deposit box); United States v. Frank, 354

F.3d 910, 916-19 (8th Cir. 2004) (removing car to avoid seizure); United States v. Lefkowitz, 125

F.3d 608, 619-20 (8th Cir. 1997) (instructing employee to remove documents from house); United

States v. Lester, 749 F.2d 1288, 1295 (9th Cir. 1984) (hiding a witness); United States v. Brown,

688 F.2d 596, 597-98 (9th Cir. 1982) (corruptly warning suspect about impending search warrant

to prevent discovery of heroin); Howard, 569 F.2d at 1333-34 (attempting to sell grand jury

transcripts). No court, however, has held that the omnibus clause’s broad language, which

necessarily encompasses Section 1503’s narrower prohibitions, renders those narrower

prohibitions superfluous. Cf. Pasquantino v. United States, 544 U.S. 349, 358 n.4 (2005) (“The

mere fact that two federal criminal statutes criminalize similar conduct says little about the scope

of either.”). The same is true for the catch-all provision in Section 1512(c)(2).

       Third, importing into Section 1512(c)(2) a nexus-to-tangible-evidence-or-documents

requirement would require inserting an extratextual gloss that would render the verbs in Section

1512(c)(2) nonsensical. See Dean v. United States, 556 U.S. 568, 572 (2009) (courts “ordinarily

resist reading words or elements into a statute that do not appear on its face” (internal quotation

marks omitted)). The actus reus that those verbs encompass is obstructing, influencing, and

impeding; a defendant cannot “obstruct” a document or “impede” a financial record. Cf. Yates,

574 U.S. at 551 (Alito, J., concurring) (rejecting interpretation of “tangible object” in Section 1519

that would include a fish in part because of a mismatch between that potential object and the

statutory verbs: “How does one make a false entry in a fish?”); id. at 544 (plurality opinion) (“It

would be unnatural, for example, to describe a killer’s act of wiping his fingerprints from a gun as

‘falsifying’ the murder weapon.”).
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                               b.      Legislative history supports the government’s
                                       interpretation of Section 1512(c)(2).

       Because “the statutory language provides a clear answer,” the construction of Section

1512(c)(2) “ends there” and resort to legislative history is unnecessary. Hughes Aircraft Co. v.

Jacobson, 525 U.S. 432, 438 (1999); see Chamber of Commerce of U.S. v. Whiting, 563 U.S. 582,

599 (2011) (“Congress’s authoritative statement is the statutory text, not the legislative history.”

(internal quotation marks omitted)); see also United States v. De Bruhl-Daniels, 491 F. Supp. 3d

237, 251-52 (S.D. Tex. 2020) (declining to consider Section 1512’s legislative history in rejecting

claim that statute was limited to document destruction). Regardless, the legislative history of

Section 1512(c)(2)—particularly when considered alongside the history of Section 1512 more

generally—provides no support for a conclusion contrary to the government’s position.

       When Congress originally enacted Section 1512 in 1982, that legislation did not include

what is now Section 1512(c). See Victim and Witness Protection Act of 1982, Pub. L. No. 97-

291, § 4(a), 96 Stat. 1248, 1249-50. Its title then, as now, was “Tampering with a witness, victim,

or an informant.” Id.; 18 U.S.C. § 1512. As that title suggests, Section 1512 as originally enacted

targeted conduct such as using intimidation, threats, or corrupt persuasion to prevent testimony or

hinder, delay, or prevent communication of information to law enforcement or the courts, as well

as intentionally harassing another person to hinder, delay, or prevent that person from taking

certain actions. See Pub. L. No. 97-291, § 4(a) (now codified as Sections 1512(b) and (d)). For

example, Section 1512 as enacted in 1982 included a prohibition on using intimidation, physical

force, or threats, with the intent to “cause or induce any person to . . . alter, destroy, mutilate, or

conceal an object with intent to impair that object’s integrity or availability for use in an official

proceeding.” Id. § 4(a) (originally § 1512(a)(2)(B); now codified at § 1512(b)(2)(B)).
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       Twenty years later, following the collapse of the Enron Corporation, Congress passed the

Sarbanes-Oxley Act of 2002. Pub. L. No. 107-204, 116 Stat. 745; see Yates, 574 U.S. at 535

(plurality opinion). That legislation, which principally aimed to “prevent and punish corporate

fraud, protect the victims of such fraud, preserve evidence of such fraud, and hold wrongdoers

accountable for their actions,” S. Rep. No. 107-146, at 2 (2002), included several different

provisions, id. at 11 (describing different components of the law); see also 148 Cong. Rec. H4683-

84 (daily ed. July 16, 2002) (outlining new provisions). Foremost among them were two new

criminal statutes, 18 U.S.C. § 1519 and 18 U.S.C. § 1520, which were intended to “clarify and

close loopholes in the existing criminal laws relating to the destruction or fabrication of evidence

and the preservation of financial and audit records.” S. Rep. No. 107-146, at 14. The Senate

Judiciary Committee Report on the Act discussed those two provisions in detail. See id. at 14-16.

       By contrast, the Sarbanes-Oxley Act’s legislative history provides limited explanation of

Congress’s objective in enacting Section 1512(c). The only discussion of Section 1512 in the

Senate Judiciary Committee Report, for example, noted that the pre-existing prohibition in Section

1512(b) made it a crime to induce “another person to destroy documents, but not a crime for a

person to destroy the same documents personally”—a limitation that “forced” prosecutors to

“proceed under the legal fiction that the defendants [in then-pending United States v. Arthur

Andersen] are being prosecuted for telling other people to shred documents, not simply for

destroying evidence themselves.” S. Rep. No. 107-146, at 6-7. Similarly, Senator Hatch observed

that the legislation “broaden[ed]” Section 1512 by permitting prosecution of “an individual who

acts alone in destroying evidence.” 148 Cong. Rec. S6550 (daily ed. July 10, 2002) (statement of

Sen. Hatch). At a minimum, nothing in these passing references casts doubt on the plain meaning

of Section 1512(c)(2), which is reflected in the interpretation described above.
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       Section 1512(c) also differed from the newly enacted Sections 1519 and 1520 in that

Congress added the former to an existing statutory section: Section 1512. See Yates, 574 U.S. at

541 (plurality opinion) (noting that, unlike Section 1519, Section 1512(c)(2) was placed among

the “broad proscriptions” in the “pre-existing” Section 1512). Moreover, although Section 1512(c)

as enacted in the Sarbanes-Oxley Act recognized two distinct prohibitions, see Pub. L. No. 107-

204, § 1102, 116 Stat. 807 (“Tampering with a record or otherwise impeding an official

proceeding”) (emphasis added; capitalization altered), Congress did not amend Section 1512’s

title. That title, “Tampering with a witness, victim, or an informant,” § 1512, thus encompassed

the pre-existing provisions aimed at a defendant’s obstructive conduct directed toward another

person, 10 but did not reflect the newly enacted prohibitions in Section 1512(c) that criminalized a

defendant’s own obstructive act, either through destroying documents (§ 1512(c)(1)) or otherwise

impeding an official proceeding (§ 1512(c)(2)). See Yates, 574 U.S. at 541 n.4 (plurality opinion)

(noting that Congress added Section 1512(c)(1), which covered evidence-spoliation, to Section

1512 “even though § 1512’s preexisting title and provisions all related to witness-tampering”).

       Section 1512(c)’s legislative and statutory history thus offers two reasons to interpret

Section 1512(c)(2) consistently with its plain text and structure. First, Section 1512(c) aimed at

closing a “loophole” in Section 1512: the existing prohibitions did not adequately criminalize a

defendant’s personal obstructive conduct not aimed at another person. See 148 Cong. Rec. S6550

(daily ed. July 10, 2002) (statement of Sen. Hatch). Read together in this light, Section 1512(c)(1)



10
  See 18 U.S.C. § 1512(a) (applies to killing, attempting to kill, or using physical force or the
threat of physical force against a person to prevent testimony or induce a witness to withhold
information); § 1512(b) (applies to using intimidation, threats, or corrupt persuasion against a
person to prevent testimony or hinder, delay, or prevent communication of information to law
enforcement or the courts); § 1512(d) (applies to intentionally harassing another person to
hinder, delay, or prevent that person from taking certain actions).
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criminalizes a defendant’s firsthand destruction of evidence (without having to prove that the

defendant induced another person to destroy evidence) in relation to an official proceeding, and

Section 1512(c)(2) criminalizes a defendant’s firsthand obstructive conduct that otherwise

impedes or influences an official proceeding (though not necessarily through another person). See

Burge, 711 F.3d at 809-10. Second, no substantive inference is reasonably drawn from the fact

that the title of Section 1512 does not precisely match the “broad proscription” it in fact contains,

given that the Sarbanes-Oxley Act unequivocally and broadly entitled the new provisions now

codified in Section 1512(c), “Tampering with a record or otherwise impeding an official

proceeding.” Pub. L. No. 107-204, § 1102, 116 Stat. 807 (emphasis added; capitalization altered).

Section 1512’s title is more limited simply because Congress did not amend the pre-existing title

when it added the two prohibitions in Section 1512(c) in 2002. Cf. Brotherhood of R.R. Trainmen

v. Baltimore & Ohio R.R. Co., 331 U.S. 519, 528-29 (1947) (describing “the wise rule that the title

of a statute and the heading of a section cannot limit the plain meaning of the text”).

                       2.      Section 1512(c)(2)’s mens rea and nexus requirements limit
                               the statute’s reach and guard against arbitrary enforcement.

       Under Section 1512(c)(2), a felony obstruction offense does not exist unless the defendant

acts “corruptly” and targets his conduct at a specific “official proceeding.”             These two

requirements, which require the government to prove a stringent mens rea and a nexus to an official

proceeding, limit the statute’s reach and guard against arbitrary enforcement. Cf. United States v.

Jeter, 775 F.2d 670, 675 (6th Cir. 1985) (Section 1503 “contains a clear mens rea requirement that

limits its scope to those who ‘corruptly’ or intentionally seek to obstruct”). Under these standards,

rioters, like the defendants, who intended and with consciousness of wrongdoing engaged in

specific acts to obstruct and impede the certification proceedings violate the statute.
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                               a.      The statute’s mens rea requirement cabins its
                                       application.

       To prove a defendant acted “corruptly” for purposes of Section 1512(c)(2), the government

must prove the defendant acted wrongfully and with intent to obstruct, impede, or influence. See,

supra, Section II.B.2.b (collecting cases). These mens rea standards supply meaningful limitations

on the exercise of prosecutorial discretion in matters arising under Section 1512(c)(2).

       That the term “corruptly” requires the government to prove that a defendant acted not only

with intent to obstruct but also with “consciousness of wrongdoing” ensures that Section

1512(c)(2) “reaches only” those who have committed felony obstruction. 11 Arthur Andersen LLP

v. United States, 544 U.S. 696, 706 (2005). That limitation is particularly important where, as

here, the defendants are alleged to have obstructed a congressional proceeding. See North, 910

F.2d at 882 (noting that an “executive branch official” or “political activist” may seek to persuade

a representative to “stop[] spending her time pursuing a certain investigation” but instead pursue

“some other legislative endeavor”; that conduct could be viewed as “endeavoring to impede or

obstruct the investigation, but it is not necessarily doing so corruptly”).

       To prove that an attempted or actual obstruction of a congressional proceeding amounts to

felony obstruction in violation of 18 U.S.C. § 1512(c)(2), the government must therefore adduce

evidence establishing beyond a reasonable doubt that a defendant acted intentionally and with

“consciousness of wrongdoing.” Andersen, 544 U.S. at 706. That standard could be met where,

for example, evidence showed that defendants transported weapons and paramilitary gear across

the country to D.C. in anticipation of violent confrontations on January 6, Superseding Indictment,




11
   Although Section 1512(c)(2)’s statutory text does not include the modifier “knowingly,” the
statute does require that the defendant “engage in conduct knowingly.” Gordon, 710 F.3d at
1151; Friske, 640 F.3d at 1291.
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at ¶¶ 19-22, dressed in protective gear, helmets, gas/face masks, and carried knives and walkie

talkies, id. at ¶ 26, recorded videos of themselves shortly before they breached the Capitol

encouraging other “patriots” to “take the Capitol” and that it was “game time,” id. at ¶¶ 24-27,

stormed past barricades and police officers looking for “the Senate Room,” id. at ¶ 28, and

penetrated the Capitol building, where they assaulted two separate sets of law enforcement

officers, enabling dozens of other rioters to breach the building and the Senate Chamber itself, id.

at ¶¶ 29-30—all while a larger crowd was forcing entry into the Capitol building “by breaking

windows, ramming open doors, and assaulting” law enforcement officers in a manner that led to

the evacuation of a Joint Session that was in the process of certifying the Electoral College vote,

id. at ¶¶ 4, 8-9. While other fact patterns may pose more challenging questions concerning whether

a defendant acted with the degree of “culpability . . . require[d] . . . to impose criminal liability,”

Aguilar, 515 U.S. at 602, the “outer limits of [the corruptly] element need not be explored here,”

Andersen, 544 U.S. at 706. 12




12
   The “high maximum[] and no minimum[]” penalty provision that Congress enacted in Section
1512(c)(2), moreover, acknowledges that obstruction offenses “may run the gamut from major to
minor,” and places faith in district court judges to “recognize differences between such cases” and
to “try to make the punishment fit the crime.” Yates, 574 U.S. at 569-70 (Kagan, J., dissenting);
see Apprendi v. New Jersey, 530 U.S. 466, 481 (2000) (nothing that “judges in this country have
long exercised discretion” to impose sentences within a statutory sentencing range by “taking into
consideration various factors relating both to offense and offender”). The same is true of the
criminal contempt statute, 18 U.S.C. § 401, which has been applied to a wide range of conduct,
see United States v. McGainey, 37 F.3d 682, 683 (D.C. Cir. 1994) (threatening gesture that led to
“disruption” of a criminal trial constituted “‘obstruction of the administration of justice’”); id. at
684-85 (citing other disruption case), and prescribes no maximum or minimum penalty, see 18
U.S.C. § 401 (permitting court the “power to punish by fine or imprisonment, or both, at its
discretion”).
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                                b.       The statute’s nexus requirement also cabins its
                                         application.

        To violate Section 1512(c)(2), the government must also satisfy the “nexus” requirement,

namely, that the defendant “contemplated a particular, foreseeable proceeding, and that the

contemplated proceeding constituted an official proceeding.” United States v. Young, 916 F.3d

368, 386 (4th Cir.), cert. denied, 140 S. Ct. 113 (2019) (internal quotation marks omitted)

(collecting cases). “[T]he nexus limitation is best understood as an articulation of the proof of

wrongful intent that will satisfy the mens rea requirement of ‘corruptly’ obstructing or

endeavoring to obstruct—that is, the first element of proving a § 1512(c)(2) charge.” Id. at 385

n.12 (quoting United States v. Erickson, 561 F.3d 1150, 1159 (10th Cir. 2009) (internal quotation

marks omitted)).

        The nexus requirement derives from the Supreme Court’s decision in United States v.

Aguilar, 515 U.S. 593 (1995). There, the defendant was convicted under the omnibus clause in

Section 1503 for lying to an FBI agent “who might or might not testify before a grand jury.” Id.

at 600. That uncertainty was too attenuated to give rise to criminal liability because an obstructive

act must “have a relationship in time, causation, or logic” with the official proceeding. Id. 599-

600. That was so, the Court held, because “if the defendant lacks knowledge that his actions are

likely to affect the judicial proceeding, he lacks the requisite intent to obstruct.” Id. at 599.

        The Supreme Court’s decision in Arthur Andersen applied the nexus requirement to

Section 1512(b)(2)(A) offenses, which prohibit “knowingly” and “corruptly persuad[ing]” another

to destroy documents in contemplation of an official proceeding. See 544 U.S. at 703. Observing

that “[i]t is . . . one thing . . . to say that a proceeding ‘need not be pending or about to be instituted

at the time of the offense,’” id. at 707; see 18 U.S.C. § 1512(f), the Supreme Court found it “quite

another to say a proceeding need not even be foreseen,” 544 U.S. at 708. To secure a conviction
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under Section 1512(b), therefore, the government must prove that the defendant has “in

contemplation” a “particular official proceeding in which [the tampered-with] documents might

be material.” Id.

       The same logic applies to Section 1512(c)(2). See Ring, 628 F. Supp. 2d at 223 (applying

nexus requirement to Section 1512(c)(2)). Courts considering prosecutions brought under Section

1512(c)(2), moreover, have vacated convictions where the evidence failed to establish a sufficient

nexus between the obstructive act and the alleged official proceeding. See Young, 916 F.3d at 387-

89 (defendant’s general awareness that the government might be investigating him was

insufficiently connected to “a specific and reasonably foreseeable official proceeding”); Friske,

640 F.3d at 1292-93 (government failed to prove that the defendant who, at a friend’s request,

retrieved items that were subject to criminal forfeiture, “knew that the natural and probable result

of his actions would be the obstruction of [the friend’s] forfeiture proceeding”). To be sure,

establishing a “relationship in time, causation, or logic,” Aguilar, 515 U.S. at 599, between the

obstructive conduct and the official proceeding in the defendants’ case, where they are alleged to

have forced their way into the Capitol seeking to impede Congress’s certification of the Electoral

College vote when they believed that process was underway, does not raise the borderline

questions at issue in other cases. But the nexus requirement nonetheless imposes a meaningful

“restraint” on the “reach of a federal criminal [obstruction] statute.” Marinello, 138 S. Ct. at 1106

(quoting Aguilar, 515 U.S. at 600).

       The mens rea and nexus requirements in Section 1512(c)(2) thus serve the critical function

of ensuring that only those who understand the character and import of their actions are punished.

A defendant does not violate the statute unless, at a minimum, he intentionally and wrongfully
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obstructs (or attempts to obstruct) a particular foreseeable proceeding that qualifies as an “official

proceeding” under Section 1515(a)(1).

                       3.      The Supreme Court’s decision in Yates v. United States does
                               not counsel a different interpretation.

       The Supreme Court’s decision in Yates v. United States, which considered how to construe

the statutory term “tangible object” in Section 1519, 574 U.S. at 532 (plurality opinion), does not

undermine the interpretation of Section 1512(c)(2) articulated above. In Yates, a plurality of the

Court undertook a “contextual reading” to narrow the scope of “tangible object” in Section 1519

to “only objects one can use to record or preserve information, not all objects in the physical

world.” Id. at 536 (plurality opinion). The contextual features that animated that narrow

interpretation in Section 1519 are, however, absent in Section 1512(c)(2).

                               a.      Background

       The Court in Yates considered a prosecution brought under Section 1519, which makes it

a crime to “knowingly alter[], destroy[], mutilate[], conceal[], cover[] up, falsif[y], or make[] a

false entry in any record, document, or tangible object with the intent to impede, obstruct, or

influence” a federal investigation. 18 U.S.C. § 1519. Yates was a commercial fisherman who

ordered his crew to throw his catch back into the sea to prevent federal authorities from

determining whether he had harvested undersized fish. Yates, 574 U.S. at 531 (plurality opinion).

The question presented was whether “tangible object” as used in Section 1519 included a fish. A

fractured Supreme Court produced three opinions.

       A four-Justice plurality concluded that Section 1519’s “context” supported a “narrower

reading.” Yates, 574 U.S. at 539. A holding that “tangible object” included “any and all objects,”

the plurality concluded, would “cut § 1519 loose from its financial-fraud mooring” in the Sarbanes-

Oxley Act. Id. at 532. The plurality grounded its analysis in several “[f]amiliar interpretive
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guides.” Id. at 539. First, neither Section 1519’s caption, “Destruction, alteration, or falsification

of records in Federal investigations and bankruptcy,” nor the title within the Sarbanes-Oxley Act

within which Section 1519 was placed, “Criminal penalties for altering documents,” suggested

that Congress aimed to “sweep” in “physical objects of every kind.” Id. at 539-40.

       Second, the plurality relied on Section 1519’s placement within Title 18’s Chapter 73.

Yates, 574 U.S. at 540. Specifically, its placement at the end of the chapter following several

provisions “prohibiting obstructive acts in specific contexts,” suggested that Congress did not

intend Section 1519 as an “across-the-board” spoliation ban. Id. In contrast, the plurality noted,

Congress directed codification of the Sarbanes-Oxley Act’s “other additions . . . within or

alongside retained provisions that address obstructive acts relating broadly to official proceedings

and criminal trials.” Id. To illustrate one such “broad[]” provision, the plurality specifically

referred to the provision at issue in this case, Section 1512(c), which, as noted above, was titled

“Tampering with a record or otherwise impeding an official proceeding,” and which Congress

placed—as Section 1512(c)—within the “broad proscription[]” found in the “pre-existing” Section

1512. Id. at 541.

       Third, the plurality compared Section 1519 with the “contemporaneous passage” in the

Sarbanes-Oxley Act of Section 1512(c)(1). See 574 U.S. at 541. Because Section 1512(c)(1)’s

reference to “‘other object’” encompassed “any and every physical object,” the plurality “resist[ed]

a reading of § 1519” that would make Section 1512(c)(1) superfluous. Id. at 542-43. The plurality

reasoned that because Congress’s formulation in Section 1519 did not track the language in Section

1512(c)(1), this indicated that Congress intended Section 1519 to be construed differently from

Section 1512. Id. at 545 n.7. More specifically, the plurality concluded that, by adopting those
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different formulations, Congress intended the phrase “tangible object” in Section 1519 to “have a

narrower scope” than the phrase “‘other object’” in Section 1512(c)(1). Id. at 544-45.

       Fourth, the plurality found support for its narrowing construction in the noscitur a sociis

and ejusdem generis interpretive canons. 574 U.S. at 543-46. Because “tangible object” in Section

1519 was the “last in a list of terms that begins ‘any record [or] document,’” the noscitur a sociis

canon counseled interpreting that term “to refer . . . specifically to the subject of tangible objects

involving records and documents.” Id. at 544. That reading, moreover, “accord[ed] with” Section

1519’s verbs, which include “‘falsif[ying]’” and “‘mak[ing] a false entry in’”—terms that

commonly “take as grammatical objects records, documents, or things used to record or preserve

information.” Id. (emphasis omitted). Similarly, application of the ejusdem generis canon—that

“general words” following “specific words” when listed in a statute are “construed to embrace

only objects similar in nature to those objects enumerated by the preceding specific words,” id. at

545 (internal quotation marks omitted)—indicated that Congress “would have had no reason to

refer specifically to ‘record’ or ‘document’” if it intended Section 1519 to “capture physical objects

as dissimilar as documents and fish.” Id. at 546. 13

       Finally, the plurality stated that, to the extent its “recourse to traditional tools of statutory

construction” left “any doubt” about how to interpret “‘tangible object’” in Section 1519, the rule

of lenity favored a narrow interpretation of that phrase. 574 U.S. at 547-48. Because a broad




13
  By way of example, the Supreme Court cited its decision in Begay v. United States, 553 U.S.
137 (2008), abrogated on other grounds by Johnson v. United States, 576 U.S. 591 (2015), where
the Court interpreted the residual clause in the Armed Career Criminal Act (ACCA), which
covered “any crime . . . that . . . is burglary, arson, or extortion, involves use of explosives, or
otherwise involves conduct that presents a serious potential risk of physical injury to another.” 18
U.S.C. § 924(e)(2)(B)(ii). The ACCA’s enumeration of specific crimes suggested that the
“otherwise involves” provisions applied only to “similar crimes, rather than every crime that
‘presents a serious potential risk of physical injury to another.’” Begay, 553 U.S. at 142.
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reading of Section 1519 would criminalize “tampering with any physical object that might have

evidentiary value in any federal investigation into any offense, no matter whether the investigation

is pending or merely contemplated, or whether the offense subject to investigation is criminal or

civil,” the plurality reasoned that before it opted for the “harsher alternative,” Congress must speak

“in language that is clear and definite.” Id. at 548 (internal quotation marks omitted).

       Justice Alito concurred in the judgment on narrower grounds. 14 Observing that the

statutory “question is close,” Justice Alito reasoned that the combined effect of “the statute’s list

of nouns, its list of verbs, and its title” favored the plurality’s conclusion. Yates, 574 U.S. at 549

(Alito, J., concurring). Section 1519’s nouns suggested that “‘tangible object’” in that provision

“should refer to something similar to records or documents.” Id. at 550. Similarly, Section 1519’s

list of verbs are “closely associated with filekeeping,” and at least one verb phrase—“‘makes a

false entry in’”—“makes no sense outside of filekeeping.” Id. at 551. Finally, Section 1519’s

title—“Destruction, alteration, or falsification of records in Federal investigations and

bankruptcy,” § 1519—suggested that “no matter how other statutes might be read,” Section 1519

“does not cover every noun in the universe with tangible form.” Id. at 552. 15

                               b.      Yates does not prohibit the application of Section
                                       1512(c)(2) to the defendants’ conduct.

       The decision in Yates does not unsettle the straightforward interpretation of Section

1512(c)(2) articulated above because the “familiar interpretive guides” on which the plurality (and

to some extent Justice Alito) relied to narrow the scope of Section 1519 do not apply to Section

1512(c)(2).



14
   Under the rule announced in Marks v. United States, 430 U.S. 188 (1977), Justice Alito’s
concurrence represents the binding holding as the narrowest opinion among those concurring in
the judgment. See id. at 193.
15
   Justice Kagan, joined by three other Justices, dissented.
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       Consider first, as the plurality did, Section 1512’s statutory title. See Yates, 574 U.S. at

539-40 (plurality opinion); see also id. at 552 (Alito, J., concurring) (considering Section 1519’s

title). Even leaving aside the “the wise rule” that neither “the title of a statute” nor “the heading

of a section” can “limit the plain meaning of the text,” Brotherhood of R.R. Trainmen, 331 U.S. at

528-29, Section 1512’s title, “Tampering with a witness, victim, or an informant,” provides no

reason to narrow the interpretation of Section 1512(c)(2). See, supra, at Section II.A.2.b.iii. As

described above, Congress named that title 20 years before it enacted 1512(c) in the Sarbanes-

Oxley Act, and then simply opted not to rename Section 1512 to reflect either of the two new

obstruction prohibitions added in Section 1512(c). Section 1512’s overarching title therefore does

not have the same interpretive force as Section 1519’s title, which was enacted by the same

Congress that enacted the rest of Section 1519. See Yates, 574 U.S. 541 n.4 (plurality opinion).

Additionally, whereas Section 1519’s title within the Sarbanes-Oxley Act, “Criminal penalties for

altering documents,” suggested a narrow focus on document destruction, see id. at 539-40, Section

1512(c)’s title within the Sarbanes-Oxley Act reflected both the document-destruction prohibition

in Section 1512(c)(1) and the broader catch-all obstruction provision in Section 1512(c)(2):

“Tampering with a record or otherwise impeding an official proceeding.” Sarbanes-Oxley Act of

2002, Pub. L. No. 107-204, § 1102, 116 Stat. 807 (emphasis added; capitalization altered).

       Similarly inapposite here is Section 1512(c)(2)’s placement within Chapter 73. See Yates,

574 U.S. at 540-41 (plurality opinion). Whereas Congress enacted Section 1519 as a standalone

prohibition and placed it at the end of the chapter “together with specialized provisions expressly

aimed at corporate fraud and financial audits,” it instead inserted Section 1512(c) within the “pre-

existing” Section 1512. Id. at 541 (plurality opinion). So situated, Section 1512(c)(2)’s function
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as a catch-all obstruction prohibition is consistent with Section 1512’s role as a “broad

proscription” on obstructive acts. See id. (plurality opinion).

       That reading, moreover, is consistent with how the Yates plurality opinion describes

Section 1512(c). See 574 U.S. at 541-43, 545. Contrasting the term “other object” in the

document-destruction provision in Section 1512(c)(1) with “tangible object” in Section 1519, the

plurality concluded that Section 1512(c)(1)’s later enactment suggested Congress intended it to

reach more broadly than Section 1519. Id. at 542-43; id. at 545 n.7 (“Congress designed § 1519

to be interpreted apart from § 1512, not in lockstep with it.”). And if Congress intended Section

1512(c)(1) to cover more ground than Section 1519, Section 1512(c)’s text and structure make

plain that it further intended Section 1512(c)(2) to cover more ground than Section 1512(c)(1).

       The plurality, 574 U.S. at 544-45, and Justice Alito, id. at 550, also drew support for their

narrowing construction of Section 1519 from interpretive canons, but those canons do not help the

defendants here. “Where a general term follows a list of specific terms, the rule of ejusdem generis

limits the general term as referring only to items of the same category.” United States v. Espy, 145

F.3d 1369, 1370-71 (D.C. Cir. 1998). Section 1519’s structure—a list of specific terms (“record”

and “document) followed by a more general term (“tangible object”)—in a singular provision is

susceptible to that analysis. Yates, 574 U.S. at 545-56 (plurality opinion); id. at 549-50 (Alito, J.,

concurring). But Section 1512(c)’s structure differs significantly: it includes one numbered

provision that prohibits evidence-tampering, followed by a semi-colon, the disjunctive “or,” and

then a separate numbered provision containing the separate catch-all obstruction prohibition. “The

absence of a list of specific items undercuts the inference embodied in ejusdem generis that

Congress remained focused on the common attribute when it used the catchall phrase.” Ali v. Fed.

Bureau of Prisons, 552 U.S. 214, 225 (2008).
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       Furthermore, in the same way that the ejusdem generis canon does not apply to the omnibus

clause in Section 1503 that is “one of . . . several distinct and independent prohibitions” rather than

“a general or collective term following a list of specific items to which a particular statutory

command is applicable,” it has no application to Section 1512(c)(2), which embodies the same

structure. Aguilar, 515 U.S. at 615 (Scalia, J., concurring in part and dissenting in part); cf.

Loughrin v. United States, 573 U.S. 351, 359 (2014) (distinguishing the mail fraud statute (18

U.S.C. § 1341), which “contains two phrases strung together in a single, unbroken sentence,” from

the bank fraud statute (18 U.S.C. § 1344), which comprised “two clauses” with “separate numbers,

line breaks before, between, and after them, and equivalent indentation—thus placing the clauses

on an equal footing and indicating that they have separate meanings”).

       The Supreme Court’s decision in Begay v. United States, 553 U.S. 137, on which the Yates

plurality in part relied, does not suggest a different conclusion with respect to Section 1512(c)(2).

See, supra, note 14. The statutory provision at issue in Begay included a list of specified crimes

(“any crime . . . that is . . . burglary, arson, or extortion, or involves use of explosives”) followed,

in the same sentence, by a more general category (“or otherwise involves conduct that presents a

serious potential risk of physical injury to another”). 18 U.S.C. § 924(e)(2)(B)(ii). The Supreme

Court held that the “otherwise involves” provision covered only crimes “similar” to those in the

enumerated list. See 553 U.S. at 142-43. In Section 1512(c)(2), by contrast, “the ‘otherwise’

phrase . . . stands alone, unaccompanied by any limiting examples” in a provision that “is plainly

separate and independent of” Section 1512(c)(1). Ring, 628 F. Supp. 2d at 224 n.17. “Thus, just

as Begay did not define the ‘otherwise’ clause” in Section 924(e)(2)(B)(ii) “in terms of the

independent and preceding” Section 924(e)(2)(B)(i), Section 1512(c)(2)’s “use of ‘otherwise’”

should not be construed “as limited by § 1512(c)(1)’s separate and independent prohibition on
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evidence-tampering.” Id.; see De Bruhl-Daniels, 491 F. Supp. 3d at 251 (“[Section 1512(c)(2)]

does not appear as a broad catch-all term at the end of a list that must be wrangled into conformity

with congressional intent using a canon of construction” but instead “exists as a potent,

independent, and unequivocal catch-all provision that reaches all manner of obstructive conduct

related to an official proceeding.”).

       The noscitur a sociis canon, also cited by the defendant, is similarly inapplicable here. See

Def’s Mot Dismiss 9. That canon is used only to construe terms that are “of obscure or doubtful

meaning,” not to change the meaning of unambiguous terms that are simply broad. Russell Motor

Car Co. v. United States, 261 U.S. 514, 520 (1923). Moreover, the canon may be invoked only

“when a string of statutory terms raises the implication that the words grouped in a list should be

given related meaning.” S. D. Warren Co. v. Maine Bd. of Env’t Prot., 547 U.S. 370, 378 (2006)

(internal quotation marks omitted); see Beecham v. United States, 511 U.S. 368, 371 (1994) (“That

several items in a list share an attribute counsels in favor of interpreting the other items as

possessing that attribute as well.”). As noted above, the first and second clauses of Section 1512(c)

are not items in a list of related terms; rather, they are distinct offenses phrased in the disjunctive.

18 U.S.C. § 1512(c). That structure therefore does not lend itself to application of noscitur a sociis.

See De Bruhl-Daniels, 491 F. Supp. 3d at 251 (declining to apply the noscitur a sociis canon to

Section 1512(c)).

       Contrary to the defendant’s assertion, the plurality’s reliance on the rule of lenity in Yates

has no application here. 16 See Def’s Mot. Dismiss 16 (citing Yates, 135 S. Ct. at 1088). The rule



16
   Justice Alito did not rely on several features that guide the plurality opinion, including the rule
of lenity. See 574 U.S. at 549 (noting that the case “should be resolved on narrow grounds,”
namely, “the statute’s list of nouns, its list of verbs, and its title,” but not discussing the
Sarbanes-Oxley Act, Section 1519’s placement within Chapter 73, the Supreme Court’s decision
in Begay, or the rule of lenity). It follows that his controlling opinion, see supra note 15,
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of lenity “only applies if, after considering text, structure, history, and purpose, there remains a

grievous ambiguity or uncertainty in the statute, such that the Court must simply guess as to what

Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010) (citation and internal quotation

marks omitted); see Shular v. United States, 140 S. Ct. 779, 789 (2020) (Kavanaugh, J.,

concurring). There is no grievous ambiguity here. Section 1512(c)(2)’s text, structure, history,

and purpose make clear that it functions as a broad catch-all prohibition on obstructive conduct

that covers “otherwise obstructive behavior that might not constitute a more specific” obstruction

offense. Petruk, 781 F.3d at 447 (internal quotation marks omitted).

       The plurality in Yates also found the rule of lenity “relevant” in part due to the absence of

limiting principles under a broad construction of Section 1519. See Yates, 574 U.S. at 548. But

neither of the features that constrain Section 1512(c)(2)’s reach—i.e., the government’s

requirement to establish that the defendant acted “corruptly” and a nexus to a contemplated official

proceeding, see, supra, Section II.C.2—is present in Section 1519. Section 1519 requires that the

defendant act “knowingly” and “with the intent to impede, obstruct, or influence,” 18 U.S.C. §

1519, but does not impose the more stringent “corruptly” mens rea. And courts of appeals have

uniformly concluded that Section 1519 does not include a “nexus” requirement. See United States

v. Scott, 979 F.3d 986, 992 (2d Cir. 2020) (Supreme Court’s decisions in Marinello, Arthur

Andersen, and Aguilar do not “overrule[]” existing circuit precedent that Section 1519 “does not

have a nexus requirement”); United States v. Moyer, 674 F.3d 192, 209 (3d Cir. 2012) (declining

to extend nexus requirement from Section 1503 and 1512(b)(2) to Section 1519); United States v.

Kernell, 667 F.3d 746, 753-55 (6th Cir. 2012); United States v. Yielding, 657 F.3d 688, 712-14




provides even fewer grounds than the plurality opinion to interpret Section 1512(c)(2) differently
than its text and structure would suggest.
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(8th Cir. 2011); see also S. Rep. No. 107-146, at 14-15 (“[Section 1519] is specifically meant not

to include any technical requirement, which some courts have read into other obstruction of justice

statutes, to tie the obstructive conduct to a pending or imminent proceeding or matter.”).

       To be sure, no court appears to have applied Section 1512(c)(2) to conduct precisely akin

to the defendants’ alleged actions—namely, pushing past barricades and law enforcement to force

their way into a congressional proceeding in a (successful) effort to halt or delay that proceeding.

Even if Section 1512(c)(2)’s application to this case was “not expressly anticipated by Congress,”

that alone “does not demonstrate ambiguity; instead, it simply demonstrates the breadth of a

legislative command.” Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1749 (2020) (internal

quotation marks and brackets omitted). That is so even if the statute’s application in a particular

case “reaches ‘beyond the principal evil’ legislators may have intended or expected to address.”

Id. (quoting Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 79 (1998)). If certain policy

considerations for a narrowed view of the statute “suggest that the current scheme should be

altered,” Intel Corp. Inv. Policy Comm. v. Sulyma, 140 S. Ct. 768, 778 (2020), “[r]esolution of the

pros and cons of whether a statute should sweep broadly or narrowly is for Congress,” United

States v. Rodgers, 466 U.S. 475, 484 (1984).

               D.      Even if Section 1512(c)(2) required that the obstructive act
                       relate to documentary or other tangible evidence, the
                       defendants’ alleged conduct would be covered.
       At a bare minimum, Section 1512(c)(2) covers conduct that prevents the examination of

documents, records, and other nontestimonial evidence in connection with an official

proceeding. If, for example, the defendants had blocked the vehicle carrying the election returns

to the Capitol for congressional examination at the certification proceeding, that conduct would

clearly fit within Section 1512(c)(2). Section 1512(c)(2) would likewise cover blocking a bus

carrying the Members of Congress to the Capitol to examine the election returns at the certification
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proceeding. And it just as readily covers displacing the Members of Congress from the House

and Senate Chambers, where they would examine and discuss those returns and other records.

       No court following Yates has adopted an interpretation of Section 1512(c)(2) that limits it

to document-focused obstructive conduct. See, e.g., Petruk, 781 F.3d at 447-48; De Bruhl-Daniels,

491 F. Supp. 3d at 251; Cervantes, 2021 WL 2666684, at *6. But even were this Court to adopt

the limitation that Section 1512(c)(2) “requires some nexus to tangible evidence,” Singleton, 2006

WL 1984467, at *3, or a “tangible object,” Hutcherson, 2006 WL 270019, at *2, the defendants’

alleged conduct in Counts One and Two would still fall within the scope of Section 1512(c)(2)

because the defendants “otherwise obstruct[ed], influence[d], or impede[d]” Congress’s ability to

review documents that it was constitutionally and statutorily required to receive and act upon,

thereby obstructing the certification of the Electoral College vote.

       The certification of the Electoral College vote is rooted in federal constitutional and

statutory law, see Superseding Indictment, at ¶ 4, that requires the creation and consideration of

various documents. Under the Twelfth Amendment, the state Electors must “vote by ballot,”

marking one set of ballots for the individual voted for as President and “distinct ballots” for the

vice-presidential selection. U.S. Const. amend. XII. The Electors must then create “lists” of the

presidential and vice-presidential candidates who received votes, “which lists they shall sign and

certify, and transmit sealed to the seat of the government of the United States.” Id. These certified

lists, or “certificates,” are then opened by the President of the Senate “in the presence of the Senate

and House of Representatives.” Id. After opening them, the President of the Senate hands the

certificates to two appointed “tellers,” who in turn create a new “list” that comprises “the votes as

they shall appear from the said certificates.” 3 U.S.C. § 15. During the reading of the certificates,

the President of the Senate must open the floor to objections; any objection “shall be made in
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writing . . . and shall be signed by at least one Senator and one Member of the House of

Representatives.” Id. Congress’s certification of the Electoral College vote, therefore, operates

through a deliberate and legally prescribed assessment of ballots, lists, certificates, and, potentially,

written objections.

        Had the defendants sought to alter or destroy any of those documents, they also would have

violated Section 1512(c)(1). Instead, the defendants allegedly sought to stop the Members of

Congress from reviewing those constitutionally and statutorily mandated documents at a

proceeding to certify the results of the 2020 presidential election. And defendant DeGrave

encouraged other rioters in the Senate Chamber to “take laptops” and “paperwork,” which further

evinces an intent to interfere with the documents related to the certification proceedings present in

the Senate Chamber. Because the defendants’ alleged conduct thus precluded a full and fair

examination of physical or documentary evidence at an official proceeding, the indictment’s

allegations would satisfy any extratextual “requirement” in Section 1512(c)(2) “for some nexus to

a document or other tangible evidence.” Singleton, 2006 WL 1984467, at *5. 17

                E.      The rule of lenity does not apply.

        Finally, the defendant’s rule of lenity argument fails, as it is only a canon of “last resort.”

Guedes v. Bureau of Alcohol, Tobacco & Firearms, 920 F.3d 1, 27-29 (D.C. Cir. 2019). The rule

of lenity “only applies if, after considering text, structure, history, and purpose, there remains a

grievous ambiguity or uncertainty in the statute, such that the Court must simply guess as to what

Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010) (internal citation and quotation




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  Relatedly, if Section 1512(c)(2) were construed to contain an extratextual requirement for
some nexus to an effect on a witness or other individual appearing at an official proceeding, the
indictment’s allegations that the defendants’ actions forced the evacuation of the Members of
Congress from their respective chambers, see Superseding Indictment, at ¶ 9, would suffice.
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omitted). There is no grievous ambiguity here. As discussed above, the statute’s text, structure,

and legislative history, as well as the case law, all support the government’s position. See, supra,

Sections II.A-C.

       Here, the defendants took intentional and unlawful action to disrupt a Joint Session of

Congress. Section 1512(c)(2) criminalizes “corruptly” obstructing an “official proceeding,”

which, as discussed above, encompasses Congress’s certification of the Electoral College vote.

Unlike some statutes, which may require complicated compliance regimes, the defendants could

have easily complied with the law on January 6. They could have voiced their support for their

preferred candidate or cause in constitutionally protected free speech outside of the restricted

Capitol grounds. Or they could have applied political pressure on enough legislators to object and

not vote to certify in favor of the eventual winner. Far from failing to provide fair notice, no guess

work was needed to comply with the law.

                                        CONCLUSION

       The government respectfully submits that the Court should deny the defendant’s motion

and not dismiss any of the counts in the Superseding Indictment.


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